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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MIRNA HAMMOUD,

      Plaintiff,                              Case Number: 2:19-cv-12789


v.

EQUIFAX INFORMATION
SERVICES, LLC.

       Defendant.
__________________________________________________________________/
CHAMI LAW, PLLC                     CLARK HILL PLC
Tarek N. Chami (P76407)             Jordan S. Bolton
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Attorney for Plaintiff              Attorneys for Equifax Information
                                    Services LLC

                   JOINT CASE MANAGEMENT REPORT

1. Related Cases: Identify any pending related cases or previously
adjudicated related cases. N/A

2. Jurisdiction: This Court has federal question jurisdiction because this action
arises out of violations of federal law. 28 U.S.C. §§ 1331. Jurisdiction is also
proper pursuant to 15 U.S.C. 1681p (FCRA) (permitting actions to enforce liability
in an appropriate United States District Court).

3. Venue: Venue in the United States District Court for the Eastern District of
Michigan is proper because Plaintiff resides in this District, Defendants regularly
transact business within this District and are otherwise subject to personal
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jurisdiction in this District, and a substantial part of the events or omissions giving
rise to this action occurred in this District.

4. Factual Summary:

Plaintiff’s statement:

Plaintiff filed a Chapter 7 bankruptcy in May of 2018 and received a discharge in
August of 2018. Plaintiff was seeking to rebuild her credit and waited nearly one
year to apply for a credit card.

In or around June of 2019, Plaintiff applied for a Kohls credit card and was denied.
As a result of the denial, Plaintiff pulled her credit reports and discovered several
inaccurate tradelines reporting only on her Equifax credit report. The inaccuracies
consisted of three accounts reporting an account status as charged off post
discharge from Comenity Bank, Celtic Bank Corp and Credit One Bank. In
addition, there was an open collection account from CCB, Inc. with an amount
owed of $1,135 and another account reporting charged off with a past due balance
of $987 from TBOM/TFC.

On or about August 2, 2019, Plaintiff mailed a dispute letter, certified mail, to
Defendant disputing all five inaccurate tradelines. Defendant, as required by the
FCRA, failed to send a response to Plaintiff’s dispute within 30 days of receipt and
Plaintiff still has not received a response. Plaintiff viewed her Equifax credit report
online and found that Comenity Bank tradeline’s account status was updated to
report included in bankruptcy. The Celtic Bank Corp and the TBOM/TFC accounts
had been removed. However, Plaintiff’s Credit One Bank tradeline continued to
report an account status of charged off and the CCB tradeline was still reporting an
open collection account with a balance of $1,135.

Defendant’s Statement:

Equifax is a consumer reporting agency, as that term is defined in the FCRA, and
is regularly engaged in the preparation of consumer reports as defined by §
1681a(f). Equifax maintains reasonable procedures designed to assure the
maximum possible accuracy of the information it reports about consumers.
Equifax denies that it violated the FCRA in its handling of Plaintiff’s disputes and
that it is liable to Plaintiff in any manner whatsoever.
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5. Legal Issues:

Plaintiff’s statement: The Fair Credit Reporting Act (15 U.S.C. § 1681 et seq.)
provides that if the completeness or accuracy of any item of information contained
in a consumer's file at a consumer reporting agency is disputed by the consumer
and the consumer notifies the agency directly of such dispute, the agency shall
conduct a reasonable reinvestigation to determine whether the disputed information
is inaccurate or delete the item from the file within thirty (30) days of receiving the
consumer's dispute notice. 15 U.S.C. § 1681i(a)(l)(A).

The Act further requires the credit reporting agency, within 5 business days of
receiving notice of the consumer's dispute, to provide notification of the dispute to
the person who furnished the information in dispute and requires the credit
reporting agency to "include all relevant information regarding the dispute that the
agency received from the consumer." 15 U.S.C. § 1681i(a)(2)(A). In conducting its
reinvestigation of disputed information in a consumer report, the credit reporting
agency is required to "review and consider all relevant information submitted by
the consumer."

Plaintiff notified Defendant Equifax of an inaccuracy contained in her credit report
and asked it to correct the inaccuracy. Defendant Equifax failed to conduct a
reasonable reinvestigation of the inaccuracy that Plaintiff disputed. Defendant
Equifax failed to review and consider all relevant information submitted by
Plaintiff. Defendant Equifax failed to employ and follow reasonable procedures to
assure maximum possible accuracy of Plaintiff’s credit reports, information, and
file, in violation of 15 U.S.C. § 1681e(b). Defendant Equifax’s violations of the
FCRA were willful and therefore Plaintiff is entitled to seek statutory and punitive
damages.

Equifax’s Statement: The principal and legal issues are (1) whether Plaintiff’s
damages, if any, were proximately caused by Equifax’s alleged violations of
obligations under the FCRA and (2) whether Plaintiff suffered any damages as a
result of Equifax’s alleged conduct.

6. Amendment of Pleadings: Identify any anticipated amendments of
pleadings to add or delete claims, defenses, or parties. The Court expects the
parties to be familiar with the Federal Rules of Civil Procedure regarding
amendment of pleadings, including those rules that pertain to amendment as of
right.
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The parties do not anticipate the need to amend the pleadings.

7. Discovery: (a) Summarize the discovery each party intends to pursue,
including expert witnesses, and any anticipated disputes; (b) Explain how the
discovery process will satisfy the proportionality requirements of Fed. R. Civ. P.
26(b)(1) (by, as examples, identifying the most important subjects and the most
accessible sources of information about those subjects; stating how the parties
intend to balance the costs of discovery with the amounts at stake in the litigation;
and explaining how the parties intend to pursue only that discovery that is truly
necessary to resolve the case); (c) Pursuant to paragraph (b), identify every parties’
three (3) key witnesses that should be deposed first and the key documents that
should be produced up front, as well as any other arrangements for exchanging
initial disclosures required by Fed. R. Civ. P. 26(a)(1); (d) indicate whether any
document requests have been delivered pursuant to Fed. R. Civ. P. 26(d); and (e)
address whether there is a need for a protective order or a confidentiality order
pursuant to Federal Rule of Evidence 502(d).

Plaintiff:
   a. Plaintiff’s credit file. Defendants’ information related to policies and
      procedures for dealing with consumer disputes and the investigation process
      to ensure accurate reporting. Plaintiff anticipates the need for an expert on
      damages.

   b. Defendant’s policies and procedures on reinvestigating consumer disputes is
      the most critical subject of discovery.

   c. Plaintiff’s three (3) key witnesses: Plaintiff, Plaintiff’s spouse and one or
      more of Defendant’s corporate representative.

   d. No documents have been delivered pursuant to Fed. R. Civ. P. 26(d). The
      parties shall deliver their initial disclosures within 14 days of the Rule 26(f)
      conference.

   e. The parties anticipate the need for a protective order prior to the production
      of documents and will jointly prepare one to be filed with the court.

Equifax:
     a.      Discovery will be needed on all allegations, claims, theories of
     liability, and damages alleged in the Complaint. Depending on the
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      information obtained in discovery, Equifax may anticipate the need for an
      expert or rebuttal expert.

      b.    Investigation into Plaintiff’s claims and damages are the most critical
      subject of discovery.

      c.    Defendant’s three (3) key witnesses: Plaintiff, Plaintiff’s spouse and
      any witnesses relevant to Plaintiff’s claims or damages.

      d.     No documents have been delivered pursuant to Fed. R. Civ. P. 26(d).
      The parties shall deliver their initial disclosures within 14 days of the Rule
      26(f) conference.

      e.     The parties anticipate the need for a protective order prior to the
      production of documents and will jointly prepare one to be filed with the
      court.

8. Electronic Discovery: Explain the agreement reached by the parties’ for
the preservation and discovery of electronic discovery and whether implementation
of this District’s Model Order Relating to the Discovery of Electronically Stored
Information 1(http://www.mied.uscourts.gov/pdffiles/SteehEsiOrderChecklist.pdf)
is warranted. The parties are also encouraged to consult this District’s Checklist for
Rule 26(f) Meet and Confer Regarding Electronically Stored Information, attached
to the Model Order linked to above. At the very least, the parties’ agreement
should cover (a) the ESI to be preserved; (b) the form in which any ESI will be
produced (i.e., native format, PDF, paper, etc.); (c) whether to limit discovery of
ESI to particular sources or custodians, at least as an initial matter; and (d) search
terms or methods to be used to identify responsive materials.

The parties have discussed the production of electronically stored information and
suggest that such information be handled as follows:

The parties will produce documents initially in PDF and in native (for documents
in Excel only) formats. Should either party request additional formats, the parties
will meet and confer to decide on additional production protocol.

9. Settlement: Explain the prospects for settlement and whether the parties
are interested in Case Evaluation (see E.D. Mich. LR 16.3) or other methods of
alternate dispute resolution, without indicating the positions of each side. Identify
the discovery that would be most helpful in evaluating likelihood of settlement.
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Parties have not discussed settlement to date. Parties do not believe that alternate
dispute resolution is necessary at this time.

10. Consent: Indicate jointly whether the parties consent to the jurisdiction of
a United States Magistrate Judge as provided in 28 U.S.C. § 636(c) and Federal
Rule of Civil Procedure 73.

The parties do not consent to the jurisdiction of a United States Magistrate Judge.


11. Trial: Identify whether this will be a jury or bench trial and the estimated
length of trial. Also identify when each side can be ready for trial.

This shall be a trial by jury. Plaintiff expects to be ready for trial by late 2020.



                                                Respectfully submitted,

                                                CHAMI LAW, PLLC

Dated: November 13, 2019                        By: /s/ Tarek N. Chami
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